Case 6:20-cv-01209-RBD-LRH Document 11 Filed 08/03/20 Page 1 of 2 PagelD 48

RETURN OF SERVICE

 

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT District of Florida

Case Number: 6:20-CV-1209-ORL-37LRH

Plaintiff:
TAVIA WAGNER

vs.

Defendant:
SAIRAM 300 LLC, AND SIDDHIVINAYAK 620 LLC, D/B/A 300 SUNOCO

For:

JOE M QUICK, P.A., LAW OFFICES
1224 S PENINSULA DR

#619

DAYTONA BEACH, FL 32118

Received by Sheryl Johnson on the 16th day of July, 2020 at 10:30 am to be served on SAIRAM 300 LLC PRITI PATEL-
REGISTERED AGENT, 866 ARBORMOOR PLACE, LAKE MARY, FL 32746.

|, Sheryl Johnson, do hereby affirm that on the 20th day of July, 2020 at 12:00 pm, I:

served the CORPORATION'S REGISTERED AGENT by delivering a true copy of the SUMMONS AND COMPLAINT with the date,
my initials and hour of service endorsed thereon by me, to: PRITI PATEL as Registered Agent at the address of: 866
ARBORMOOR PLACE, LAKE MARY, FL 32746 on behalf of SAIRAM 300 LLC, and informed said person of the contents therein,
in compliance with state statutes.

Description of Person Served: Age: 40, Sex: F, Race/Skin Color: Middle Eastern, Height: 5'5", Weight: 140, Hair: Black,
Glasses: N

| certify that | am over the age of 18, have no interest in the above action, and am a Certified Process Server, in good standing,
in the judicial circuit in which the process was served. Under penalty of perjury, | declare that | have read the foregoing return of
service and that the facts in it are true. Notary not required pursuant to F.S. 92.525(2)

Sheryl Jonson

18-0002

MAX J. GARCIA, INC.
145 E RICH AVE
SUITE G

Deland, FL 32724
(386) 624-6943

Our Job Serial Number: MJG-2020004719

Copyright © 1992-2020 Database Services, Inc. - Process Server's Toolbox V8.1c

TU
ZO ER ESL 1. i

( Cage,6:20-0-01209-RBD:LRH, Document 11 Filed 08/08/20 FR APEPE BORG F9 SM AE

msindg Cisel Achor

 

PaO EL

 

for the

Middle District of Florida

TAVIA WAGNER

Phaintiffisi
¥.

SAIRAM 300 LLC, and SIDDHIVINAYAK 620 LLC,
d/b/a 300 SUNOCO,

we Ne Ne et Nae Ne Nee Nee ne Ne

Defendant(s}
SUMMONS IN A CIVIL ACTION

TOL (Defendant's mune and address)
SAIRAM 300 LLC
PRITL PATEL - REGISTERED AGENT
866 ARBORMOOR PLACE
LAKE MARY, FLORIDA 32746

A lawsuit has been filed against you.

Civil Action No.

UNITED STATES DISTRICT COURT

6:20-cv-1209-Orl-37LRH

DATE? [22/20 TIME (22-7 p™

Server rs
(court-appointedprocess server)

x___ PeResed
Recipient Signature
ALE teyor SF We
UE hor *

Within 21 days after service of this summons on you (not counting the day you received it) —- or 60 days if you
are the United States or a United States agency. or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a2) or (3) ~~ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney.

whose name and address are: JOE M. QUICK, ESQ.
LAW OFFICES OF JOE M. QUICK, ESQ.
1224 S. PENINSULA DRIVE #619
DAYTONA BEACH. FLORIDA 32118
TELEPHONE (386) 212-3591

If you fail to respond. judgment by default will be entered against you for the relief demanded in the complaint.

You also must file vour answer or motion with the court.

CLERK OF COUR]

Date:

  
